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 9                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
10
     Jason Davey and Julie Davey,                    Case No. 2:24-cv-02357-JAD-NJK
11
                   Plaintiff,                        Joint Stipulation to Respond to
12                                                   Plaintiff’s Complaint (First Request)
           v.
13
   Director of United States Citizenship and
14 Immigration Services,

15                  Defendant.
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19         Plaintiffs Jason Davey and Julie Davey (“Plaintiffs”) and the United States, on

20 behalf of the federal defendant, through their undersigned counsel, hereby stipulate and
21 agree as follows:

22         1. Plaintiffs filed their Complaint on December 17, 2024 (ECF No. 1).

23         2. Federal Defendant’s response to the Complaint is currently due on February 18,

24              2025.

25         3. Plaintiffs and Federal Defendant agree and stipulate that Federal Defendant’s

26              time to respond to Plaintiffs’ Complaint shall be extended through April 18,

27              2025.

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1         4. Federal Defendant requires additional time to review the record and take steps
2             toward adjudication of the Plaintiffs’ I-829 petitions.
3         This is the first request to stay the proceedings. This request is not sought for
4 purpose of delay or any other improper purpose, but to facilitate the parties’ effort to

5 resolve the matter by adjudicating Plaintiffs’ applications.

6         Respectfully submitted this 14th day of February 2025.
7
                                                      SUE FAHAMI
8                                                     Acting United States Attorney
9    /s/ David Edward Walters                         /s/ Karissa D. Neff
     DAVID EDWARD WALTERS, ESQ.                       KARISSA D. NEFF
10   Law Office of David E. Walters                   Assistant United States Attorney
     4060 E. Russell Rd., Ste. 100                    Attorneys for the Federal Defendants
11   Las Vegas, NV 89120
     Plaintiffs’ Attorney
12

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                                               IT IS SO ORDERED:
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                                               United States District/Magistrate Judge
19

20
21                                                      February 18, 2025
                                               DATED: ________________________________

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